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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

CASE NO.: 8:20-cv-00394- WFJ-SPF
SECURITIES AND EXCHANGE COMMISSION,
Plaintiff,
v.

KINETIC INVESTMENT GROUP, LLC and
MICHAEL SCOTT WILLIAMS,

Defendants, and

KINETIC FUNDS I, LLC,

KCL SERVICES, LLC d/b/a LENDACY,

SCIPIO, LLC,

LF42, LLC,

EL MORRO FINANCIAL GROUP, LLC, and

KIH, INC. f/k/a KINETIC INTERNATIONAL, LLC,

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Relief Defendants. )
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ORDER GRANTING PLAINTIFF SECURITIES AND EXCHANGE
COMMISSION’S EMERGENCY MOTION FOR APPOINTMENT OF RECEIVER

 

WHEREAS Plaintiff Securities and Exchange Commission has filed a motion for the
appointment of a receiver over Defendant Kinetic Investment Group, LLC (“Defendant”) and
Relief Defendants Kinetic Funds I, LLC, KCL Services, LLC d/b/a Lendacy, Scipio, LLC,
LF42, LLC, El Morro Financial Group, LLC, and KTH, Inc. f/k/a Kinetic International, LLC
(collectively, “Relief Defendants”), with full and exclusive power, duty and authority to:

administer and manage the business affairs, funds, assets, causes in action and any other
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property of the Defendant and the Relief Defendants; marshal and safeguard all of their assets;
and take whatever actions are necessary for the protection of the investors;

WHEREAS the Court finds that, based on the record in these proceedings, the
appointment of a receiver in this action is necessary and appropriate for the purposes of
marshaling and preserving all assets of the Defendant (“Receivership Assets”) and those assets
of the Relief Defendants that: (a) are attributable to funds derived from investors or clients of
the Defendant; (b) are held in constructive trust for the Defendant; (c) were fraudulently
transferred by the Defendant; and/or (d) may otherwise be includable as assets of the estates
of the Defendant (collectively, the “Recoverable Assets”); and,

WHEREAS this Court has subject matter jurisdiction over this action and personal
jurisdiction over the Defendant and the Relief Defendants, and venue properly lies in this
district.

NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND
DECREED THAT:

l. This Court hereby takes exclusive jurisdiction and possession of the assets, of
whatever kind and wherever situated, of Defendant and Relief Defendants (collectively, the
“Receivership Defendants”).

2. Until further Order of this Court, Mark A. Kornfeld is hereby appointed to serve

without bond as receiver (the “Receiver”) for the estates of the Receivership Defendants.
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I. Asset Freeze

3. Except as otherwise specified herein, all Receivership Assets and Recoverable
Assets are frozen until further order of this Court. Accordingly, all persons and entities with
direct or indirect control over any Receivership Assets and/or any Recoverable Assets, other
than the Receiver, are hereby restrained and enjoined from directly or indirectly transferring,
setting off, receiving, changing, selling, pledging, assigning, liquidating or otherwise disposing
of or withdrawing such assets. This freeze shall include, but not be limited to, Receivership
Assets and/or Recoverable Assets that are on deposit with financial institutions such as banks,
brokerage firms and mutual funds.

Il. General Powers and Duties of Receiver

4. The Receiver shall have all powers, authorities, rights and privileges heretofore
possessed by the officers, directors, managers and general and limited partners of the
Receivership Defendants under applicable state and federal law, by the governing charters, by-
laws, articles and/or agreements in addition to all powers and authority of a receiver at equity,
and all powers conferred upon a receiver by the provisions of 28 U.S.C. §§ 754, 959 and 1692,
and Fed.R.Civ.P. 66.

5. The trustees, directors, officers, managers, employees, investment advisors,
accountants, attorneys and other agents of the Receivership Defendants are hereby dismissed
and the powers of any general partners, directors and/or managers are hereby suspended. Such
persons and entities shall have no authority with respect to the Receivership Defendants’

operations or assets, except to the extent as may hereafter be expressly granted by the Receiver.
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The Receiver shall assume and control the operation of the Receivership Defendants and shall
pursue and preserve all of their claims.

6. No person holding or claiming any position of any sort with any of the
Receivership Defendants shall possess any authority to act by or on behalf of any of the
Receivership Defendants.

7. Subject to the specific provisions in Sections III through XIV, below, the
Receiver shall have the following general powers and duties:

A. To use reasonable efforts to determine the nature, location and value of
all property interests of the Receivership Defendants, including, but not
limited to, monies, funds, securities, credits, effects, goods, chattels,
lands, premises, leases, claims, rights and other assets, together with all
rents, profits, dividends, interest or other income attributable thereto, of
whatever kind, which the Receivership Defendants own, possess, have
a beneficial interest in, or control directly or indirectly (“Receivership
Property” or, collectively, the “Receivership Estates”);

B. To take custody, control and possession of all Receivership Property
and records relevant thereto from the Receivership Defendants; to sue
for and collect, recover, receive and take into possession from third
parties all Receivership Property and records relevant thereto;

C. To manage, control, operate and maintain the Receivership Estates and
hold in his possession, custody and control all Receivership Property,
pending further Order of this Court;

D. To use Receivership Property for the benefit of the Receivership
Estates, making payments and disbursements and incurring expenses as
may be necessary or advisable in the ordinary course of business in
discharging his duties as Receiver;

E. To take any action which, prior to the entry of this Order, could have
been taken by the officers, directors, partners, managers, trustees and
agents of the Receivership Defendants;
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F, To engage and employ persons in his discretion to assist him in carrying
out his duties and responsibilities hereunder, including, but not limited
to, accountants, attorneys, securities traders, registered representatives,
financial or business advisers, liquidating agents, real estate agents,
forensic experts, brokers, traders or auctioneers;

G. To take such action as necessary and appropriate for the preservation of
Receivership Property or to prevent the dissipation or concealment of
Receivership Property; .

H. The Receiver is authorized to issue subpoenas for documents and

testimony consistent with the Federal Rules of Civil Procedure;

I. To bring such legal actions based on law or equity in any state, federal,
or foreign court as the Receiver deems necessary or appropriate in
discharging his duties as Receiver;

J. To pursue, resist and defend all suits, actions, claims and demands
which may now be pending or which may be brought by or asserted
against the Receivership Estates; and,

K. To take such other action as may be approved by this Court.

III. Access to Information

8. The Receivership Defendants and the past and/or present officers, directors,
agents, managers, general and limited partners, trustees, attorneys, accountants and employees
of the Receivership Defendants, as well as those acting in their place, are hereby ordered and
directed to preserve and turn over to the Receiver forthwith all paper and electronic information
of, and/or relating to, the Receivership Defendants and/or all Receivership Property; such

information shall include but not be limited to books, records, documents, accounts and all

other instruments and papers.
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9. The Receivership Defendants and the Receivership Defendants’ past and/or
present officers, directors, agents, attorneys, managers, shareholders, employees, accountants,
debtors, creditors, managers and general and limited partners, and other appropriate persons or
entities shall answer under oath to the Receiver all questions which the Receiver may put to
them and produce all documents as required by the Receiver regarding the business of the
Receivership Defendants, or any other matter relevant to the operation or administration of the
receivership or the collection of funds due to the Receivership Defendants. In the event that
the Receiver deems it necessary to require the appearance of the aforementioned persons or
entities, the Receiver shall make its discovery requests in accordance with the Federal Rules
of Civil Procedure.

10. The Receivership Defendants are required to assist the Receiver in fulfilling his
duties and obligations. As such, they must respond promptly and truthfully to all requests for
information and documents from the Receiver.

IV. Access to Books, Records and Accounts

11. The Receiver is authorized to take immediate possession of all assets, bank
accounts or other financial accounts, books and records and all other documents or instruments
relating to the Receivership Defendants. All persons and entities having control, custody or
possession of any Receivership Property are hereby directed to turn such property over to the
Receiver.

12. The Receivership Defendants, as well as their agents, servants, employees,

attorneys, any persons acting for or on behalf of the Receivership Defendants, and any persons
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receiving notice of this Order by personal service, facsimile transmission or otherwise, having
possession of the property, business, books, records, accounts or assets of the Receivership
Defendants are hereby directed to deliver the same to the Receiver, his agents and/or
employees.

13. All banks, brokerage firms, financial institutions, and other persons or entities
which have possession, custody or control of any assets or funds held by, in the name of, or
for the benefit of, directly or indirectly, and of the Receivership Defendants that receive actual
notice of this Order by personal service, facsimile transmission or otherwise shall:

A. Not liquidate, transfer, sell, convey or otherwise transfer any assets,
securities, funds, or accounts in the name of or for the benefit of the
Receivership Defendants except upon instructions from the Receiver;

B. Not exercise any form of set-off, alleged set-off, lien, or any form of
self-help whatsoever, or refuse to transfer any funds or assets to the
Receiver’s control without the permission of this Court;

C. Within five (5) business days of receipt of that notice, file with the Court
and serve on the Receiver and counsel for the Commission a certified
statement setting forth, with respect to each such account or other asset,
the balance in the account or description of the assets as of the close of
business on the date of receipt of the notice; and,

D. Cooperate expeditiously in providing information and transferring

funds, assets and accounts to the Receiver or at the direction of the
Receiver.

Vv. Access to Real and Personal Property

14. The Receiver is authorized to take immediate possession of all personal
property of the Receivership Defendants, wherever located, including but not limited to

electronically stored information, computers, laptops, hard drives, external storage drives, and
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any other such memory, media or electronic storage devices, books, papers, data processing
records, evidence of indebtedness, bank records and accounts, savings records and accounts,
brokerage records and accounts, certificates of deposit, stocks, bonds, debentures, and other
securities and investments, contracts, mortgages, furniture, office supplies and equipment.

15. The Receiver is authorized to take immediate possession of all real property of
the Receivership Defendants, wherever located, including but not limited to all ownership and
leasehold interests and fixtures. Upon receiving actual notice of this Order by personal service,
facsimile transmission or otherwise, all persons other than law enforcement officials acting
within the course and scope of their official duties, are (without the express written permission
of the Receiver) prohibited from: (a) entering such premises; (b) removing anything from such
premises; or, (c) destroying, concealing or erasing anything on such premises.

16. In order to execute the express and implied terms of this Order, the Receiver is
authorized to change door locks to the premises described above. The Receiver shall have
exclusive control of the keys. The Receivership Defendants, or any other person acting or
purporting to act on their behalf, are ordered not to change the locks in any manner, nor to have
duplicate keys made, nor shall they have keys in their possession during the term of the
receivership.

17... The Receiver is authorized to open all mail directed to or received by or at the
offices or post office boxes of the Receivership Defendants, and to inspect all mail opened
prior to the entry of this Order, to determine whether items or information therein fall within

the mandates of this Order.
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VI. Notice to Third Parties

18. The Receiver shall promptly give notice of his appointment to all known
officers, directors, agents, employees, shareholders, creditors, debtors, managers and general
and limited partners of the Receivership Defendants, as the Receiver deems necessary or
advisable to effectuate the operation of the receivership.

19. All persons and entities owing any obligation, debt, or distribution with respect
to an ownership interest to any Receivership Defendant shail, until further ordered by this
Court, pay all such obligations in accordance with the terms thereof to the Receiver and its
receipt for such payments shall have the same force and effect as if the Receivership Defendant
had received such payment.

20. In furtherance of his responsibilities in this matter, the Receiver is authorized
to communicate with, and/or serve this Order upon, any person, entity or government office
that he deems appropriate to inform them of the status of this matter and/or the financial
condition of the Receivership Estates. All government offices which maintain public files of
security interests in real and personal property shall, consistent with such office’s applicable
procedures, record this Order upon the request of the Receiver or the Commission.

21. The Receiver is authorized to instruct the United States Postmaster to hold
and/or reroute mail which is related, directly or indirectly, to the business, operations or
activities of any of the Receivership Defendants (the ““Receiver’s Mail”), including all mail
addressed to, or for the benefit of, the Receivership Defendants. The Postmaster shall not

comply with, and shall immediately report to the Receiver, any change of address or other
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instruction given by anyone other than the Receiver concerning the Receiver’s Mail. The
Receivership Defendants shall not open any of the Receiver’s Mail and shall immediately turn
over such mail, regardless of when received, to the Receiver. All personal mail of any
Receivership Defendants, and/or any mail appearing to contain privileged information, and/or
any mail not falling within the mandate of the Receiver, shall be released to the named
addressee by the Receiver. The foregoing instructions shall apply to any proprietor, whether
individual or entity, of any private mail box, depository, business or service, or mail courier or
delivery service, hired, rented or used by the Receivership Defendants. The Receivership
Defendants shall not open a new mailbox, or take any steps or make any arrangements to
receive mail in contravention of this Order, whether through the U.S. mail, a private mail
depository or courier service.

22. Subject to payment for services provided, any entity furnishing water, electric,
telephone, sewage, garbage or trash removal services to the Receivership Defendants shall
maintain such service and transfer any such accounts to the Receiver unless instructed to the
contrary by the Receiver.

VII. Injunction Against Interference with Receiver

23. The Receivership Defendants and all persons receiving notice of this Order by
personal service, facsimile or otherwise, are hereby restrained and enjoined from directly or
indirectly taking any action or causing any action to be taken, without the express written
agreement of the Receiver, which would:

A. Interfere with the Receiver’s efforts to take control, possession, or

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management of any Receivership Property; such prohibited actions
include but are not limited to, using self-help or executing or issuing or
causing the execution or issuance of any court attachment, subpoena,
replevin, execution, or other process for the purpose of impounding or
taking possession of or interfering with or creating or enforcing a lien
upon any Receivership Property;

B. Hinder, obstruct or otherwise interfere with the Receiver in the
performance of his duties; such prohibited actions include but are not
limited to, concealing, destroying or altering records or information;

C. Dissipate or otherwise diminish the value of any Receivership Property;
such prohibited actions include but are not limited to, releasing claims
or disposing, transferring, exchanging, assigning or in any way
conveying any Receivership Property, enforcing judgments,
assessments or claims against any Receivership Property or any
Receivership Defendant, attempting to modify, cancel, terminate, call,
extinguish, revoke or accelerate (the due date), of any lease, loan,
mortgage, indebtedness, security agreement or other agreement
executed by any Receivership Defendant or which otherwise affects any
Receivership Property; or,

D. Interfere with or harass the Receiver, or interfere in any manner with the
exclusive jurisdiction of this Court over the Receivership Estates.

24. The Receivership Defendants shall cooperate with and assist the Receiver in the
performance of his duties.

25. | The Receiver shall promptly notify the Court and Commission counsel of any
failure or apparent failure of any person or entity to comply in any way with the terms of this

Order.

VIII. Stay of Litigation

26. _ As set forth in detail below, the following proceedings, excluding the instant

proceeding and all police or regulatory actions and actions of the Commission related to the

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above-captioned enforcement action, are stayed until further Order of this Court:

All civil legal proceedings of any nature, including, but not limited to, bankruptcy

proceedings, arbitration proceedings, foreclosure actions, default proceedings, or other

actions of any nature involving: (a) the Receiver, in his capacity as Receiver; (b) any

Receivership Property, wherever located; (c) any of the Receivership Defendants,

including subsidiaries and partnerships; or, (d) any of the Receivership Defendants’

past or present officers, directors, managers, agents, or general or limited partners sued
for, or in connection with, any action taken by them while acting in such capacity of
any nature, whether as plaintiff, defendant, third-party plaintiff, third-party defendant,
or otherwise (such proceedings are hereinafter referred to as “Ancillary Proceedings”).

27. The parties to any and all Ancillary Proceedings are enjoined from commencing
or continuing any such legal proceeding, or from taking any action, in connection with any
such proceeding, including, but not limited to, the issuance or employment of process.

28. ‘All Ancillary Proceedings are stayed in their entirety, and all Courts having any
jurisdiction thereof are enjoined from taking or permitting any action until further Order of this
Court. Further, as to a cause of action accrued or accruing in favor of one or more of the
Receivership Defendants against a third person or party, any applicable statute of limitation is
tolled during the period in which this injunction against commencement of legal proceedings
is in effect as to that cause of action.

IX. Managing Assets

29. For each of the Receivership Estates, the Receiver shall establish one or more
custodial accounts at a federally insured bank to receive and hold all cash equivalent
Receivership Property (the “Receivership Funds”).

30. The Receiver’s deposit account shall be entitled, together with the name of the

action:

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Receiver’s Account, Estate of Kinetic Investment Group, LLC
Receiver’s Account, Estate of Kinetic Funds I, LLC
Receiver’s Account, Estate of KCL Services, LLC d/b/a Lendacy

Receiver’s Account, Estate of Scipio, LLC

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Receiver’s Account, Estate of LF42, LLC

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Receiver’s Account, Estate of El Morro Financial Group, LLC
G. Receiver’s Account, Estate of KIH, Inc. f/k/a Kinetic International, LLC

31. The Receiver may, without further Order of this Court, transfer, compromise,
or otherwise dispose of any Receivership Property, other than real estate, in the ordinary course
of business, on terms and in the manner the Receiver deems most beneficial to the Receivership
Estate, and with due regard to the realization of the true and proper value of such Receivership
Property.

32. Subject to Paragraph 33 immediately below, the Receiver is authorized to
locate, list for sale or lease, engage a broker for sale or lease, cause the sale or lease, and take
all necessary and reasonable actions to cause the sale or lease of all real property in the
Receivership Estates, either at public or private sale, on terms and in the manner the Receiver
deems most beneficial to the Receivership Estate, and with due regard to the realization of the
true and proper value of such real property.

33. Upon further Order of this Court, pursuant to such procedures as may be
required by this Court and additional authority such as 28 U.S.C. §§ 2001 and 2004, the

Receiver will be authorized to sell, and transfer clear title to, all real property in the

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Receivership Estates.

34, The Receiver is authorized to take all actions to manage, maintain, and/or wind-
down business operations of the Receivership Estates, including making legally required
payments to creditors, employees, and agents of the Receivership Estates and communicating
with vendors, investors, governmental and regulatory authorities, and others, as appropriate.

35. | The Receiver shall take all necessary steps to enable the Receivership Funds to
obtain and maintain the status of a taxable “Settlement Fund,” within the meaning of Section
468B of the Internal Revenue Code and of the regulations, when applicable.

X. Investigate and Prosecute Claims

36. Subject to the requirement, in Section VIII above, that leave of this Court is
required to resume or commence certain litigation, the Receiver is authorized, empowered and
directed to investigate, prosecute, defend, intervene in or otherwise participate in, compromise,
and/or adjust actions in any state, federal or foreign court or proceeding of any kind as may in
his discretion, and in consultation with Commission counsel, be advisable or proper to recover
and/or conserve Receivership Property.

37. Subject to his obligation to expend receivership funds in a reasonable and cost-
effective manner, the Receiver is authorized, empowered and directed to investigate the
manner in which the financial and business affairs of the Receivership Defendants were
conducted and (after obtaining leave of this Court) to institute such actions and legal
proceedings, for the benefit and on behalf of the Receivership Estate, as the Receiver deems

necessary and appropriate; the Receiver may seek, among other legal and equitable relief, the

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imposition of constructive trusts, disgorgement of profits, asset turnover, avoidance of
fraudulent transfers, rescission and restitution, collection of debts, and such other relief from
this Court as may be necessary to enforce this Order. Where appropriate, the Receiver should
provide prior notice to Counsel for the Commission before commencing investigations and/or
actions.

38. The Receiver hereby holds, and is therefore empowered to waive, all privileges,
including the attorney-client privilege, held by all Receivership Defendants.

39, The receiver has a continuing duty to ensure that there are no conflicts of
interest between the Receiver, his Retained Personnel (as that term is defined below), and the
Receivership Estate.

XI. Bankruptcy Filing

40. | The Receiver may seek authorization of this Court to file voluntary petitions for
relief under Title 11 of the United States Code (the “Bankruptcy Code”) for the Receivership
Defendants. If a Receivership Defendant is placed in bankruptcy proceedings, the Receiver
may become, and may be empowered to operate each of the Receivership Estates as, a debtor
in possession. In such a situation, the Receiver shall have all of the powers and duties as
provided a debtor in possession under the Bankruptcy Code to the exclusion of any other
person or entity. Pursuant to Paragraph 4 above, the Receiver is vested with management
authority for all Receivership Defendants and may therefore file and manage a Chapter 11
petition.

41. The provisions of Section VIII above bar any person or entity, other than the

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Receiver, from placing any of the Receivership Defendants in bankruptcy proceedings.
XII. Liability of Receiver
42. Until further Order of this Court, the Receiver shall not be required to post bond
or give an undertaking of any type in connection with his fiduciary obligations in this matter.
43. The Receiver and his agents, acting within scope of such agency (“Retained
Personnel’) are entitled to rely on all outstanding rules of law and Orders of this Court and
shall not be liable to anyone for their own good faith compliance with any order, rule, law,
judgment, or decree. In no event shall the Receiver or Retained Personnel be liable to anyone
for their good faith compliance with their duties and responsibilities as Receiver or Retained
Personnel, nor shall the Receiver or Retained Personnel be liable to anyone for any actions
taken or omitted by them except upon a finding by this Court that they acted or failed to act as
a result of malfeasance, bad faith, gross negligence, or in reckless disregard of their duties.
44, — This Court shall retain jurisdiction over any action filed against the Receiver or
Retained Personnel based upon acts or omissions committed in their representative capacities.
45. In the event the Receiver decides to resign, the Receiver shall first give written
notice to the Commission’s counsel of record and the Court of its intention, and the resignation
shall not be effective until the Court appoints a successor. The Receiver shall then follow such
instructions as the Court may provide.
XIII. Recommendations and Reports
46. The Receiver is authorized, empowered and directed to develop a plan for the

fair, reasonable, and efficient recovery and liquidation of all remaining, recovered, and

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recoverable Receivership Property (the “Liquidation Plan”).

47. Within ninety (90) days of the entry date of this Order, the Receiver shall file
the Liquidation Plan in the above-captioned action, with service copies to counsel of record.

48. Within thirty (30) days after the end of each calendar quarter, the Receiver shall
file and serve a full report and accounting of each Receivership Estate (the “Quarterly Status
Report”), reflecting (to the best of the Receiver’s knowledge as of the period covered by the
report) the existence, value, and location of all Receivership Property, and of the extent of
liabilities, both those claimed to exist by others and those the Receiver believes to be legal
obligations of the Receivership Estates.

49. The Quarterly Status Report shall contain the following:

A. A summary of the operations of the Receiver;

B. The amount of cash on hand, the amount and nature of accrued
administrative expenses, and the amount of unencumbered funds in the
estate;

C. A schedule of all the Receiver’s receipts and disbursements (attached as

Exhibit A to the Quarterly Status Report), with one column for the
quarterly period covered and a second column for the entire duration of
the receivership;

D. A description of all known Receivership Property, including
approximate or actual valuations, anticipated or proposed dispositions,
and reasons for retaining assets where no disposition is intended;

E. A description of liquidated and unliquidated claims held by the
Receivership Estate, including the need for forensic and/or
investigatory resources; approximate valuations of claims; and
anticipated or proposed methods of enforcing such claims (including
likelihood of success in: (i) reducing the claims to judgment; and, (ii)
collecting such judgments);

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F, A list of all known creditors with their addresses and the amounts of
their claims;
G. The status of Creditor Claims Proceedings, after such proceedings have

been commenced; and,

H. The Receiver's recommendations for a continuation or discontinuation
of the receivership and the reasons for the recommendations.

50. On the request of the Commission, the Receiver shall provide the Commission
with any documentation that the Commission deems necessary to meet its reporting
requirements, that is mandated by statute or Congress, or that is otherwise necessary to further
the Commission’s mission.

XIV. Fees, Expenses and Accountings

51. Subject to Paragraphs 52-58 immediately below, the Receiver need not obtain
Court approval prior to the disbursement of Receivership Funds for expenses in the ordinary
course of the administration and operation of the receivership. Further, prior Court approval
is not required for payments of applicable federal, state or local taxes.

52. Subject to Paragraph 53 immediately below, the Receiver is authorized to solicit
persons and entities (“Retained Personnel”) to assist him in carrying out the duties and
responsibilities described in this Order. The Receiver shall not engage any Retained Personnel
without first obtaining an Order of the Court authorizing such engagement.

53. The Receiver and Retained Personnel are entitled to reasonable compensation
and expense reimbursement from the Receivership Estates as described in the “Billing

Instructions for Receivers in Civil Actions Commenced by the U.S. Securities and Exchange

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Commission” (the “Billing Instructions”) agreed to by the Receiver. Such compensation shall
require the prior approval of the Court.

54. Within forty-five (45) days after the end of each calendar quarter, the Receiver
and Retained Personnel shall apply to the Court for compensation and expense reimbursement
from the Receivership Estates (the “Quarterly Fee Applications”). At least thirty (30) days prior
to filing each Quarterly Fee Application with the Court, the Receiver will serve upon counsel for the
Commission a complete copy of the proposed Application, together with all exhibits and relevant
billing information in a format to be provided by Commission staff.

55. All Quarterly Fee Applications will be interim and will be subject to cost benefit
and final reviews at the close of the receivership. At the close of the receivership, the Receiver
will file a final fee application, describing in detail the costs and benefits associated with all
litigation and other actions pursued by the Receiver during the course of the receivership.

56. Quarterly Fee Applications may be subject to a holdback in the amount of 20%
of the amount of fees and expenses for each application filed with the Court. The total amounts
held back during the course of the receivership will be paid out at the discretion of the Court
as part of the final fee application submitted at the close of the receivership.

57. Each Quarterly Fee Application shall:

A. Comply with the terms of the Billing Instructions agreed to by the
Receiver; and,

B. Contain representations (in addition to the Certification required by the
Billing Instructions) that: (i) the fees and expenses included therein were
incurred in the best interests of the Receivership Estate; and, (ii) with
the exception of the Billing Instructions, the Receiver has not entered

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into any agreement, written or oral, express or implied, with any person
or entity concerning the amount of compensation paid or to be paid from
the Receivership Estate, or any sharing thereof.
58. At the close of the Receivership, the Receiver shall submit a Final Accounting,
in a format to be provided by Commission staff, as well as the Receiver’s final application for

compensation and expense reimbursement.

DONE AND ORDERED this 6th day of March 2020, in Tampa, Florida.

    

WILLIAM F. JUNG
UNITED STATES DISTRICT JUDGE

cc: Counsel of record

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